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                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Bishoy Abo−Saif
                                     Plaintiff,
v.                                                       Case No.: 1:16−cv−02727
                                                         Honorable John J. Tharp Jr.
John Marshall Law School
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, October 11, 2017:


       MINUTE entry before the Honorable Sidney I. Schenkier: Status hearing held.
Defendant's counsel does not appear. By agreement, plaintiff's counsel reports that the
settlement agreement will be executed shortly and that they will be filing their stipulation
to dismiss by 10/18/17. The matter is set for a status hearing before the magistrate judge
on 11/01/17 at 9:00 a.m. If prior to the status hearing the parties file their stipulation to
dismiss, then the Court will strike the status hearing. Mailed notice. (jj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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